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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,               :   CIVIL ACTION NO. 1:16-CV-2145
                                            :
                     Plaintiffs             :   (Chief Judge Conner)
                                            :
               v.                           :
                                            :
THE MILTON HERSHEY SCHOOL,                  :
et al.,                                     :
                                            :
                     Defendants             :

                                        ORDER

      AND NOW, this 7th day of December, 2018, upon reconsideration of our

August 10, 2017 memorandum and order (Docs. 62, 63), and for the reasons stated in

the accompanying memorandum, it is hereby ORDERED that:

      1.       Plaintiffs’ previously dismissed tort claims are REINSTATED as
               follows:

               a.    Plaintiffs’ negligence (Count III), intentional infliction of
                     emotional distress as to Abrielle (Count IX), negligent infliction
                     of emotional distress (Count X), civil conspiracy to endanger
                     children (Count XI), and breach of fiduciary duties of care and
                     good faith (Count XII) in the amended complaint are
                     REINSTATED.

               b.    Plaintiffs’ negligent misrepresentation (Count VII), intentional
                     misrepresentation (Count VIII), and intentional infliction of
                     emotional distress as to plaintiffs (Count IX) are DISMISSED
                     without prejudice pursuant to Federal Rule of Civil Procedure
                     12(b)(6).

      2.       If Plaintiffs choose to amend, they shall file a second amended
               complaint within fourteen (14) days of the date of this order,
               consistent with the above paragraph and the accompanying
               memorandum. In the absence of a timely filed second amended
               complaint, the above-captioned action shall proceed on the amended
               complaint in accordance with the accompanying memorandum.
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3.       The court’s August 10, 2017 memorandum and order (Docs. 62, 63) are
         VACATED.

4.       Defendants’ motion (Doc. 119) for judgment on the pleadings and
         motion (Doc. 158) for summary judgment are DISMISSED without
         prejudice to the right to reinstitute and supplement said motions at the
         request of the parties.

5.       The parties’ joint motion (Doc. 215) in support of their stipulation to
         extend case management deadlines is DISMISSED as moot. In light of
         the memorandum and order of today’s date, the parties shall meet and
         confer and file a joint proposed scheduling order amending the current
         case management deadlines, (see Doc. 171), on or before Friday,
         December 28, 2018.



                                   /S/ CHRISTOPHER C. CONNER
                                   Christopher C. Conner, Chief Judge
                                   United States District Court
                                   Middle District of Pennsylvania
